Cas`e 1:16-cv-03319-DLC Document 31

UN:TED STATES DISTRICT coURT
SOUTHERN DISTRICT or NEW YORK
FEDERAL INSURANCE coMPANY,
Piaintiff,
_V_
SHOWTIME ON THE P:ERS, :Nc., PORT
PART:ES, LTD., and HNN coNSULTANTS,

LTD.,

Defendants.

DENISE COTE, District Judge:

It having been reported to this

been settled, it is hereby

Filed 10/05/16 Page 1 of 1

 

    
 

16cv3319 (DLC)
ORDER OF
DISCONTINUENCE
[‘€1§1\;§§:' “ “ l
g _
`.’ § ":{ i"-`.i§ ‘;`.i`) 1
1
Eyg£i

 

 

 

Court that this case has

ORDERED that the above~oaptioned action is discontinued

without oosts to any party and without prejudice to restoring

the action to this Court’s calendar if the application to

restore the action is made within thirty days.

Dated: New York, New York

Ootober 5, 2016

//MM

NISE COTE

United St§tes District Judge

 

 

